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AO 245B (CASDRev. 08113) Judgment in a Criminal Case


                                          UNITED STATES DISTRICT COURT
                                                                                                                                      .     ~-


                                                SOUTHERN DISTRICT OF CALIFORNIA   ' \{ !                                                  • ,    .,

                                                                AMENDED JUDGMENT rNA CRIMINAL
               UNITED STATES OF AMERICA                                      r' A~T4'
                                     V.                                      (For Offenses Committed On or After November 1, 1987)
       JOSE ANTONIO HERNANDEZ-HERNANDEZ (2)                                                                                Tf1
                                                                                Case Number:         lSCR1416-BAS

                                                                             DAVID BAKER
                                                                             Defendant's Attorney
REGISTRAnON NO.                      49997298
IZI Correction of Sentence for Clerial Mistake (Fed. R. Crim. P. 36)

IZI     pleaded guilty to count(s)          ONE (1) OF THE SUPERSEDING INDICTMENT

o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                              Count
Title & Section                           Nature of Offense                                                                  Number(sl
18 USC 371 AND                            CONSPIRACY TO BRING IN CERTAIN ALIENS AND                                             1
1324(a)(2)(B)(ii)                         BRINGING IN CERTAIN ALIENS FOR FINANCIAL GAIN




     The defendant is sentenced as provided in pages 2 through                          2           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        The defendant has been found not guilty on count(s)

I:8j Count(s)       UNDERLYING AND REMAINING                           are         dismissed on the motion ofthe United States.

 IZI    Assessment: $100.00



 IZl No fine                       0 Forfeiture pursuant to order filed                                                 , included herein.
       IT IS ORDERED that the defendant shall notity the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until al1 fines, restitution, costs, and specia1 assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notity the court and United States Attorney of
any material change in the defendant's economic circumstances.


                                                                             DECEMBER 7. 2015
                                                                             Oat. ofImposition ofSente~


                                                                             HON~ASHANT
                                                                             UNITED STATES DISTRICT JUDGE


                                                                                                                           15CR1416-BAS
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AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:                JOSE ANTONIO HERNANDEZ-HERNANDEZ (2)                                    Judgment - Page 2 of2
CASE NlJNIBER:            15CR1416-BAS


                                                 IMPRISONMENT
 The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
 TWELVE (12) MONTHS AND ONE (1) DAY




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 o     The court makes the following recommendations to the Bureau of Prisons:




 o     The defendant is remanded to the custody of the United States Marshal.

 o     The defendant shall surrender to the United States Marshal for this district:
             at
                  ----------------- A.M.                      on
                                                                   ------------------------------------
             as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o     Prisons:
       o     on or before
       o     as notified by the United States Marshal.
       o     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on   _________________________ w ______________________________
 at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL


                                                                                                      15CR1416-BAS
